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      UNITED STATES OF AMERICA
12
                                 UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                       WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                 Case No. 2:22-cv-00556
16
                 Plaintiff,                     COMPLAINT FOR FORFEITURE
17
                       v.                       18 U.S.C. § 981(a)(1)(A) & (C)
18
      CRYPTOCURRENCY,                           [HSI/USPIS]
19
                 Defendant.
20

21

22          Plaintiff United States of America brings this claim against
23    defendant Cryptocurrency, and alleges as follows:
24                                  JURISDICTION AND VENUE
25          1.    The government brings this in rem forfeiture action
26    pursuant to 18 U.S.C. § 981(a)(1)(A) & (C).
27          2.    This Court has jurisdiction over the matter under 28 U.S.C.
28    §§ 1345 and 1355.
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 1          3.     Venue lies in this district pursuant to 28 U.S.C. § 1395.

 2                                 PERSONS AND ENTITIES

 3          4.     The plaintiff in this action is the United States of

 4    America.

 5          5.     The defendant Cryptocurrency consists of the following

 6    items seized on or about September 14, 2021 during the execution of a

 7    federal search warrant at Stanley Hudson’s Inglewood, California

 8    residence:

 9                 (a)   1 EA 125631.9995 XRP from address rNTPodU...awykfS in

10    "erase" seed 1 EA 243.881066 BNB from address bnb1egwvw6aa...qe952g4

11    in "erase" seed;

12                 (b)   1 EA 308527996.37391521 SAFEMOON token from address

13    0x976C184AA3...4C0C4f1 in "erase" seed;

14                 (c)   1 EA 98309410275.81 FEGbsc token from address

15    0x976C184AA3...C0C4f1 in "erase" seed;

16                 (d)   1 EA 25.26659 XTZ from address tz1WZ5hTrwc....HJKdws8

17    in "erase" seed;

18                 (e)   1 EA 56692266841.49 NFTART token from address

19    0x976C184AA3...C0C4f1 in "erase" seed;

20                 (f)   1 EA 11662177429.82 FOX token from address

21    0x976C184AA3...C0C4f1 in "erase" seed;

22                 (g)   1 EA 0.08391314 BNB Smart Chain token from address

23    0x976C184AA...C0C4f1 in "erase" seed // BSC blockchain;

24                 (h)   1 EA 858664450.36730151 ELG token from address

25    0x976C184AA3...C0C4f1 in "erase" seed;

26                 (i)   1 EA 1508776833.45023636 BONFIRE token from address

27    0x976C184AA3...C0C4f1 in "erase" seed;

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 1                (j)   1 EA 8457.24333853 CAKE token from address

 2    0x9b8B2B9B4d...e5c6c4 from "math" seed for metamask wallet;

 3                (k)   1 EA 2602238.85910237 SRK token from address

 4    0x9b8B2B9B4d...e5c6c4 from "math" seed for metamask wallet;

 5                (l)   1 EA 0.54691865 ETH from address 0x9b8B2B9B4d...e5c6c4

 6    from "math" seed for metamask wallet;

 7                (m)   1 EA 0.0326723 BNB Smart Chain token from address

 8    0x9b8B2B9B4d...e5c6c4 //"math" seed, metamask;

 9                (n)   1 EA 25859.81081045 ABYSS token from address

10    0xCd6222f...50CaFf from "filter" seed in safety deposit box;

11                (o)   1 EA 524815.5047135 METM token from address

12    0xCd6222f...50CaFf from "filter" seed in safety deposit box; and

13                (p)   1 EA 0.00322815 ETH from address 0xCd6222f...50CaFf

14    from "filter" seed in safety deposit box.

15          6.    The defendant cryptocurrency is currently in the custody of

16    the United States Customs and Border Protection, Department of

17    Homeland Security in this District, where it will remain subject to

18    this Court’s jurisdiction during the pendency of this action.

19          7.    The interests of Stanley Hudson may be adversely affected

20    by these proceedings.

21                                 BASIS FOR FORFEITURE

22    Background Regarding U.S. Private Faults

23          8.    U.S. Private Vaults (“USPV”) is a company that was in the

24    business of renting safe deposit boxes to customers.             By providing

25    and promoting total anonymity, USPV catered to and attracted

26    criminals who sought to keep their identities and the source of their

27    cash beyond the reach of banks, regulators, the IRS, and law

28    enforcement.

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 1            9.    The company’s primary pitch to customers was anonymity, as

 2    reflected in its website that provided “Complete Privacy; Biometric

 3    Identification; No ID Required.”        USPV also boasted in its website

 4    “Our business is one of the very few where we don’t even want to know

 5    your name.       For your privacy and the security of your assets in our

 6    vault, the less we know the better.”         This advertisement appealed to

 7    persons engaged in activities which they wished to hide from legal

 8    authorities and law-abiding financial institutions.

 9            10.   USPV also posted on its website “Four Reasons to Store Your

10    Gold At USPV,” information designed to market the company’s services,

11    which led to many involved in criminal activities to rent boxes from

12    USPV.    The posting asserted:

13            Banks require clients to provide their social security

14            number and a photo identification as a condition for

15            renting a safe deposit box.     Your information is then filed

16            in the bank's central data system.       This information can be

17            easily accessed by government agencies (such as the IRS) or

18            attorneys armed with court orders. If no one is aware you

19            have a safe deposit box, the contents (your gold) are much

20            safer.

21    By advocating a service which circumvented the IRS and persons “armed

22    with court orders,” customers engaged in illegal activity were

23    attracted to and ultimately stored and secreted their criminal

24    proceeds (which the government has a legitimate interest in) at USPV,

25    instead of at banks or law-abiding financial institutions where their

26    illegal activities would more likely be uncovered.

27            11.   In the same post, “Four Reasons to Store Your Gold At

28    USPV”, USPV stated:

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 1          As government chartered institutions, banks are now

 2          required to file “suspicious activity reports.” . . . U.S.

 3          Private Vaults is not subject to federal banking laws and

 4          would only cooperate with the government under court order.

 5    By marketing services in this fashion, some persons who ultimately

 6    became USPV customers, were attracted by the advertisements because

 7    USPV’s safe deposit box storage facilities offered them a much safer

 8    place to store their illegal criminal proceeds, unlike law-abiding

 9    banks, so as to eliminate their fear of apprehension by law

10    enforcement and in promotion of their illegal activities.

11          12.   Further, and in order to shield customers from having law

12    enforcement uncover their illegal activity, USPV encouraged its

13    customers pay their box rental fees in cash.              In addition, USPV

14    charged customers significantly higher prices than those charged by

15    major banks, because USPV offered something which legitimate banks do

16    not: anonymity, a place to store illegally obtained cash, tips and

17    assistance in avoiding law enforcement and a willingness to look the

18    other way with regard to all types of criminal conduct.               And one of

19    USPV’s owners has gone so far as to brag about bringing to USPV

20    individuals selling marijuana and other drugs illegally, based on the

21    owner’s connections, by marketing USPV as a safe place for those

22    criminal actors and potential USPV customers to store their ill-

23    gotten gains.

24          13.   Not surprisingly, because USPV’s business model is designed

25    to appeal and cater to criminals, USPV has repeatedly been used by

26    criminals to store criminal proceeds.          Over the years, the contents

27    of specific boxes at USPV have been forfeited because they are the

28    proceeds of criminal activity.          For example, on July 1, 2019,

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 1    officers seized $215,653 from Michael Beaver, as he was leaving USPV,

 2    and then seized an additional $1,448,700 from his USPV boxes.

 3    Records from the Employment Development Department (the “EDD”), which

 4    is the California agency to whom employers must report wages earned

 5    by their employees, showed Beaver had no legitimate employment

 6    income.     In addition, Beaver’s phones revealed evidence of drug

 7    trafficking activity, and the in excess of $1.6 million funds were

 8    forfeited as proceeds of unlawful activity.

 9          14.    On April 21, 2019, a victim was kidnapped in San Diego and

10    brutally tortured in a warehouse, where the victim was hit with

11    sticks and baseball bats; stripped naked; hit with a hammer on the

12    victim’s toes; and set on fire.         Allan Newman was arrested and

13    charged with kidnapping for ransom, attempted murder, torture and

14    aggravated mayhem relative to the beating.           The victim had been

15    employed by a group of people who were engaged in distributing

16    counterfeit marijuana vaping cartridges, and the group believed the

17    victim had stolen a suitcase full of cash, which a vape cartridge

18    customer had left at the warehouse.          A portion of the funds had been

19    placed by the victim’s ex-wife in a safe deposit box at USPV, which

20    the ex-wife retrieved and used to pay the victim’s ransom.

21          15.    On March 6, 2018, officers seized $101,080 and 26 gold bars

22    from Vincent Ramos’ USPV box.       Ramos was the CEO of a company that

23    facilitated the importation, exportation and distribution,

24    internationally, of wholesale quantities of cocaine, heroin and

25    methamphetamine.     The currency and gold bars were forfeited, and

26    Ramos was indicted and pleaded guilty to Racketeering and Drug

27    Trafficking, in the Southern District of California.             See United

28    States v. Ramos, Case No. 18cr1404-WQH.

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 1            16.   In September 2016, officers seized $592,450 and $435,190,

 2    respectively, from two USPV boxes of Mikhail Malykhin, an individual

 3    who was the leader of an identity theft/computer intrusion fraud

 4    ring.    He and others were involved in a complex scheme involving

 5    altering hacked debit cards from a health insurance provider and

 6    altering the codes to cash out the debit cards.            Malykhin was

 7    indicted and pleaded guilty to committing access device fraud, and

 8    the over $1,000,000 in funds seized from Malykhin’s boxes were

 9    forfeited as proceeds of the fraud and were used to pay restitution

10    to victims of Malykhin’s fraud.         See United States v. Malykhin,

11    Central District of California Case No. 16cr0688-DMG.
12            17.   In November 2015, officers seized $1,543,400 from the USPV
13    box of Gerald Lebowitz, which he stated had been brought into the
14    United States illegally to avoid taxes.          However, further
15    investigation revealed that Lebowitz was part of a conspiracy to
16    distribute methaqualone, a controlled substance, and officers seized
17    over 45 kilograms of methaqualone powder and 12 canisters of the
18    chemical o-Taluidine, both chemical precursors, during the course of
19    the investigation.     The funds were forfeited as criminal proceeds.

20    See United States of America v. Lebowitz, Central District of

21    California Case No. 17cr-0053-CAS.

22            18.   On October 28, 2015, officers seized $500,000, 22 gold bars

23    and 15 gold coins from the USPV box of Cyrus Irani, who was the

24    master bookmaker and head of an illegal gambling organization that

25    operated both internet and traditional bookmaking operations, and

26    engaged in money laundering.       He pleaded guilty to Enterprise

27    Corruption, and 14 others in his organization were convicted of

28    various gambling, money laundering and enterprise corruption charges.

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 1    The assets found in Irani’s box were forfeited as criminal proceeds.

 2    The Property At Issue In This Case

 3          19.     The assets located in Stanley Hudson’s box at USPV are an

 4    example of persons storing assets from their illegal activity at

 5    USPV, as a result of USPV’s advertisements, marketing efforts and

 6    other transactions and activities over the web, on-line and in the

 7    mails, designed to induce persons to rent boxes at USPV to hide their

 8    property.    The assets seized from Stanley Hudson’s box and thereafter

 9    by the government represent the proceeds of criminal activity and

10    were involved in money laundering activity, which therefore renders

11    them subject to forfeiture.

12          20.    Law enforcement officers found $256,276.00 in U.S. Currency

13    and Approximately 26 Miscellaneous Coins inside Stanley Hudson’s box

14    at USPV.    A civil forfeiture action has been filed against those

15    assets.     See United States v. $256,275.00 in U.S. Currency, et al.,

16    Case No. 2:21-cv-07310-CAS(KSx)
17          21.    Stanley Hudson was convicted on charges of federal bank
18    fraud, aggravated identity theft and aiding and abetting.              See United
19    States of America v. Thomas Cochee and Stanley Hudson, Case No. 08-

20    cr-715(A)-PSG.     As part of the conviction, Stanley Hudson was

21    sentenced to 94 months (i.e., almost 8 years) imprisonment, five

22    years of supervised release, and ordered to pay $872,125.52 to the

23    victims he defrauded.      But Stanley Hudson has failed to voluntarily

24    pay anywhere near the sums that are due.          Instead, Stanley Hudson has

25    voluntarily paid only about $18,000.00 due on the restitution

26    judgment.

27          22.    In order to compel Stanley Hudson to pay his restitution

28    obligation, the government in 2021 submitted a demand for real

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 1    property sale proceeds from real estate Stanley Hudson was selling

 2    without intending to use those proceeds to pay restitution.                As a

 3    result, the escrow company provided approximately $228,000.00 to the

 4    government, which applied those funds to Stanley Hudson’s restitution

 5    debt and thereby compelled Stanley Hudson to use those funds to

 6    satisfy at least a portion of the losses suffered by the victims he

 7    has defrauded.

 8          23.   Still, after applying those funds to the restitution order

 9    over $625,000.00 remained due and owing in restitution to Stanley

10    Hudson’s victims.     Instead of satisfying his victim loss obligations,

11    Stanley Hudson instead chose to hide in his box at USPV (i.e., box

12    number 1401) his assets, which include the $256,276.00 in U.S.
13    Currency and the coins and the defendant cryptocurrency.
14          24.   Stanley Hudson also appears to be hiding his wealth from
15    taxing authorities.        Except for one year during the five years
16    between 2014 and 2018, Stanley Hudson reported negative adjusted
17    gross income in the State of California as follows: 2014 (negative
18    $41,708); 2015 (negative $40,238); 2016 (negative $21,661); 2017
19    ($4,326); and 2018 (negative $12,290).

20          25.   When officers executed a federal search warrant at Stanley

21    Hudson’s residence on or about August 5, 2021, and spoke with Stanley

22    Hudson about his restitution debt, Stanley Hudson stated it was no

23    big deal that he had not paid his restitution debt.              In addition,

24    when officers asked Stanley Hudson about other valuable assets

25    (including the defendant cryptocurrency worth approximately

26    $400,000.00 that was once situated inside Stanley Hudson’s USPV box),

27    Stanley Hudson provided conflicting stories and false information

28    concerning his sources of those additional assets.              Stanley Hudson

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 1   lacks sufficient legitimate sources of income to support his

 2   acquisition and possession of the defendant, and was using his box at

 3   USPV to facilitate his illegal activities in shielding his assets

 4   from victims entitled to receive assets in payment of their losses as

 5   reflected in Stanley Hudson’s restitution judgment.

 6         26.   When officers discovered there had been approximately

 7   $400,000.00 worth of cryptocurrency inside Stanley Hudson’s USPV box

 8   that had been stored on Stanley Hudson’s wallets, officers tried to

 9   access and seize the cryptocurrency but learned that almost all of it

10   had been moved to other wallets.        During the August 5, 2021 search at

11   Stanley Hudson’s residence, officers told Stanley Hudson that the

12   warrant authorized officers to seize the cryptocurrency.             On or about

13   August 17, 2021, Stanley Hudson moved his cryptocurrency to one or

14   more new addresses, which information officers discovered on or about

15   September 9, 2021.

16         27.   Thereafter, on September 13, 2021, officers obtained a new

17   search warrant for Stanley Hudson’s residence.           The search warrant

18   authorized the seizure of cryptocurrency and related records and

19   items, such as recovery seeds or root keys which can be used to

20   regenerate a wallet.        Officers executed the warrant on September 14,

21   2021, and found and seized the defendant cryptocurrency which

22   officers transferred to a cryptocurrency address controlled by the

23   government.

24                                FIRST CLAIM FOR RELIEF

25         28.   Plaintiff incorporates the allegations of paragraphs 1-27

26   above as though fully set forth herein.

27         29.   Based on the above, plaintiff alleges that the defendant

28   cryptocurrency constitutes or is derived from proceeds traceable to

                                             10
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 1   violations of 18 U.S.C. §§ 1341 (wire fraud) and/or 1343 (mail

 2   fraud), each of which is a specified unlawful activity as defined in

 3   18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(D).         The defendant

 4   cryptocurrency is therefore subject to forfeiture pursuant to 18

 5   U.S.C. § 981(a)(1)(C).

 6                               SECOND CLAIM FOR RELIEF

 7         30.   Plaintiff incorporates the allegations of paragraphs 1-27

 8   above as though fully set forth herein.

 9         31.   Based on the above, plaintiff alleges that the defendant

10   cryptocurrency constitutes property involved in multiple transactions

11   or attempted transactions in violation of 18 U.S.C.

12   § 1956(a)(1)(A)(i) or (a)(1)(B)(i), or property traceable to such

13   property, with the specified unlawful activity being a violation of

14   18 U.S.C. §§ 1341 (wire fraud) and/or 1343 (mail fraud).            The

15   defendant cryptocurrency is therefore subject to forfeiture pursuant

16   to 18 U.S.C. § 981(a)(1)(A).

17                               THIRD CLAIM FOR RELIEF

18         32.   Plaintiff incorporates the allegations of paragraphs 1-27
19   above as though fully set forth herein.

20         33.   Based on the above, plaintiff alleges that the defendant

21   cryptocurrency constitutes property involved in multiple transactions

22   or attempted transactions in violation of 18 U.S.C. § 1957(a), or

23   property traceable to such property, with the specified unlawful

24   activity being a violation of 18 U.S.C. §§ 1341 (wire fraud) and/or

25   1343 (mail fraud).     The defendant cryptocurrency is therefore subject

26   to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

27         WHEREFORE, plaintiff United States of America prays:

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 1         (a)   that due process issue to enforce the forfeiture of the

 2   defendant cryptocurrency;

 3         (b)   that due notice be given to all interested parties to

 4   appear and show cause why forfeiture should not be decreed;

 5         (c)   that this Court decree forfeiture of the defendant

 6   cryptocurrency to the United States of America for disposition

 7   according to law; and

 8         (d)   for such other and further relief as this Court may deem

 9   just and proper, together with the costs and disbursements of this

10   action.

11   Dated: January 26, 2022            TRACY L. WILKISON
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                                        Assistant United states Attorney
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                                        JONATHAN GALATZAN
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15
                                        _______/s/___________________
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                                        Asset Forfeiture Section
18
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19                                      UNITED STATES OF AMERICA

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 1                                    VERIFICATION

 2         I, Lyndon Versoza, hereby declare that:

 3         1.    I am a United States Postal Inspector employed by the

 4   United States Postal Inspection Service (“USPIS”), Los Angeles

 5   Division, in Los Angeles, California with the Federal Bureau of

 6   Investigation.

 7         2.    I have read the above Complaint for Forfeiture and know the

 8   contents thereof.

 9         3.    The information contained in the Complaint is either known

10   to me personally, was furnished to me by official government sources,

11   or was obtained pursuant to subpoena.        I am informed and believe that

12   the allegations set out in the Complaint are true.

13         I declare under penalty of perjury under the laws of the United

14   States of America that the foregoing is true and correct.

15         Executed on January 26, 2022 at Los Angeles, California.

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                                                  Lyndon Versoza
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